Case 1:03-cv-01304-.]DT-STA Document 46 Filed 04/18/05 Page 1 of 2 Page|D 44

 

IN THE UNITED STATES DISTR!CT COURT H[EDB)/
FoR THE WESTERN DISTRICT oF TENNESSEE § DC
EASTERN DIVISIoN 054/33 l 8 PH
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. . -*3!‘-- x ,-qg/SI cr
Plamuff, "' KSON
v. Civil Action No: 1-03-1304-T
REITTER & SCHEFENACKER,

Defendant.

 

ORDER GRANTING DEFENDANT’S REQUEST
TO FILE A REPLY 'I`O PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES
IN RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

Upon the motion of Defendant, and for good cause shown, the Court hereby grants
Defendant’s request to file a Reply to Plaintiff"s Memorandum Of Points And Authorities In
Response To Defendant’s Motion For Summary Judgment.

It is hereby Ordered that Defendant shall be allowed t_o flle its Reply Brief to Plaintiff’s
Memorandum Of Points And Authorities ln Response To Defendant’s Motion For Summary

Judgment

So ordered this z Y/i`day of m 2005.
Q$'vw D. w

UNW!D STATES DIS'TRICT JUDBE~

This document entered on the docket sheet in compliance

with nme 58 and/or 79 (a) FncP on _~;LJ_\_°\_\_O§____

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ThiS notice confirms a copy of the document docketed as number 46 in
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Honorable J ames Todd
US DISTRICT COURT

